     Case 1:14-cr-00147-LJO-BAM Document 50 Filed 01/06/15 Page 1 of 1


 1   HEATHER E. WILLIAMS, Bar # 122664
     Federal Defender
 2   Marc Days, Bar # 184098
     Assistant Federal Defender
 3   2300 Tulare Street, Suite 330
     Fresno, CA 93721
 4   Telephone: 559.487.5561
 5   Attorney for Defendant
     DANIEL MIRANDA
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11       UNITED STATES OF AMERICA,              )     Case №: 14-cr-00147 AWI
                                                )
12                   Plaintiff,                 )      ORDER ON MOTION TO WITHDRAW
                                                )        THE FEDERAL DEFENDER AS
13            vs.                               )       COUNSEL, APPOINT AD HOC CJA
                                                )                COUNSEL,
14       DANIEL MIRANDA,                        )        AND DEFENDANT'S CONSENT
                                                )
15                   Defendant.                 )
                                                )
16
17            Upon Defendant’s Daniel Miranda, Jr. (1) motion and consent, good cause appearing, and

18   for consistency of representation,

19           IT IS HEREBY ORDERED, effective January 12, 2015, withdrawing the Federal

20   Defender as counsel and appointing Marc Days as ad hoc CJA counsel pursuant to 18 U.S.C.

21   § 3006A(b) and Eastern District of California’s CJA Plan, Gen. Ord. 323, App. I, §B(3).

22
     IT IS SO ORDERED.
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24        Dated:    January 5, 2015                          /s/ Barbara A. McAuliffe           _
                                                      UNITED STATES MAGISTRATE JUDGE
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